Case 3:19-cv-00453-WQH-KSC Document 1 Filed 03/07/19 PageID.1 Page 1 of 5



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 8
 9                       UNITED STATES DISTRICT COURT
10                    SOUTHERN DISTRICT OF CALIFORNIA
11
12   THOMAS FOLEY, an individual,           )             '19CV0453 WQHKSC
                                                Case No. ____________________
                                            )
13               Plaintiff,                 )
                                            )   NOTICE OF REMOVAL OF
14         v.                               )   DEFENDANT JPMORGAN CHASE
                                                BANK, N.A.
15   JPMORGAN CHASE BANK, N.A., a ))
     national banking association; and DOES )
16   1-10,
                                            )
17               Defendants.                )
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                                                                  NOTICE OF REMOVAL
                                                                   Case No. ___________
     LA 52217108
                                     Case 3:19-cv-00453-WQH-KSC Document 1 Filed 03/07/19 PageID.2 Page 2 of 5



                                      1           TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF
                                      2   RECORD:
                                      3           PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. §§ 1332(a), 1441
                                      4   and 1446, defendant JPMorgan Chase Bank, N.A. (“JPMC”) hereby removes the
                                      5   action entitled Thomas Foley v. JPMorgan Chase Bank, N.A. et al., Case No. 37-
                                      6   2019-00006327-CU-NP-CTL, pending in the Superior Court of the State of
                                      7   California, County of San Diego (the “Action”), to the United States District Court
                                      8   for the Southern District of California on the following grounds:
                                      9           1.    Removal Is Timely. The Complaint was served upon JPMC on
                                     10   February 5, 2019. This Notice of Removal is timely pursuant to 28 U.S.C. § 1446(b)
                                     11   because it has been filed within 30 days of receipt by, and service on, JPMC of the
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                                     12   Complaint, and within one year after “commencement of the action” in state court.
      LOS ANGELES, CA 90067-3086




                                     13   Pursuant to 28 U.S.C. § 1446(a), true and correct copies of all process and pleadings
                                     14   filed in the Action are attached hereto as Exhibit A.
                                     15           2.    This Court Has Removal Jurisdiction Over The Action. The Action is a
                                     16   civil action of which this Court has original jurisdiction under 28 U.S.C. § 1331 and
                                     17   is one which may be removed to this Court by JPMC pursuant to the provisions of
                                     18   28 U.S.C. § 1441.
                                     19           3.    Pursuant to 28 U.S.C. § 1331, original jurisdiction of the district courts
                                     20   includes jurisdiction over “all civil actions arising under the Constitution, laws, or
                                     21   treaties of the United States.” “An action may ‘arise under’ a law of the United
                                     22   States if the plaintiff’s right to relief necessarily turns on construction of federal
                                     23   law.” Bright v. Bechtel Petroleum, Inc., 780 F.2d 766, 769 (1986) (citing Franchise
                                     24   Tax Bd. of Cal. v. Constr. Laborer’s Vacation Trust, 463 U.S. 1, 9 (1983)). Stated
                                     25   differently, claims “arise under” federal law when a “well-pleaded complaint
                                     26   establishes . . . that the plaintiff’s right to relief necessarily depends on resolution of
                                     27   a substantial question of federal law, in that federal law is a necessary element of one
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                                                                                                                  NOTICE OF REMOVAL
                                                                                                                   Case No. ___________
                                          LA 52217108
                                     Case 3:19-cv-00453-WQH-KSC Document 1 Filed 03/07/19 PageID.3 Page 3 of 5



                                      1   of the well-pleaded . . . claims.” Christianson v. Colt Indus. Operating Corp., 486
                                      2   U.S. 800, 808 (1988) (quoting Franchise Tax Bd., 463 U.S. at 13, 27-28) (internal
                                      3   quotation marks and citations omitted).
                                      4           4.    Here, the Complaint filed by Plaintiff asserts five causes of action:
                                      5   (i) violation of the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227
                                      6   et seq.; (ii) violation of California’s Rosenthal Fair Debt Collection Practices Act
                                      7   (“RFDCPA”), California Civil Code § 1788 et seq.; (iii) intrusion upon seclusion;
                                      8   (iv) violation of California Business & Professions Code § 17200 et seq. (“§
                                      9   17200”); and (iv) breach of contract. (See Compl. ¶¶ 19-48.) Plaintiff’s claims are
                                     10   predicated upon a direct violation of this specific federal law: 47 U.S.C. § 227. (See
                                     11   Compl. ¶¶ 9-17.) Based on the allegations of the Complaint, Plaintiff’s right to relief
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                                     12   on his TCPA claim necessarily depends on the resolution of substantial questions of
      LOS ANGELES, CA 90067-3086




                                     13   federal law, including whether the alleged conduct violates 47 U.S.C. § 227.
                                     14   Therefore, this Court has removal jurisdiction over this Action under 28 U.S.C.
                                     15   § 1331 because Plaintiff’s TCPA claim arises under the laws of the United States.
                                     16           5.    To the extent any other claims in the Action arise under state law,
                                     17   including Plaintiff’s claims for breach of contract, intrusion upon seclusion, violation
                                     18   of the RFDCPA and violation of § 17200, supplemental jurisdiction over such claims
                                     19   would exist pursuant to 28 U.S.C. §§ 1367 and 1441(c) because those claims are so
                                     20   related to Plaintiff’s TCPA claim that they form part of the same case or controversy.
                                     21           6.    Consent Is Not Necessary Because There Are No Other Defendants.
                                     22   JPMC is the only defendant in this case. Accordingly, consent of removal is not
                                     23   necessary and removal is proper pursuant to 28 U.S.C. § 1446(a) & (b). See Emrich
                                     24   v. Touche Ross & Co., 846 F.2d 1190, 1193 n.1 (9th Cir. 1988) (The general rule
                                     25   that “all defendants in a state action must join in the petition for removal . . .
                                     26   [applies] only to defendants properly joined and served in the action.”).
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                                                                                                                  NOTICE OF REMOVAL
                                                                                                                   Case No. ___________
                                          LA 52217108
                                     Case 3:19-cv-00453-WQH-KSC Document 1 Filed 03/07/19 PageID.4 Page 4 of 5



                                      1           7.    Venue Is Proper In This Court. This Court is the proper district court
                                      2   for removal because the Superior Court of the State of California for the County of
                                      3   San Diego is located within the United States District Court for the Southern District
                                      4   of California. See 28 U.S.C. § 1441(a).
                                      5           8.    Notice Will Be Effected. JPMC concurrently is filing a copy of this
                                      6   Notice of Removal with the Superior Court of the State of California for the County
                                      7   of San Diego, without exhibits. JPMC will concurrently serve Plaintiff with copies
                                      8   of this Notice of Removal and the Notice filed in the Action.
                                      9
                                     10   Dated: March 7, 2019                    STROOCK & STROOCK & LAVAN LLP
                                                                                  ARJUN P. RAO
                                     11                                           ALI FESHARAKI
2029 CENTURY PARK EAST, 18TH FLOOR
  STROOCK & STROOCK & LAVAN LLP




                                     12
      LOS ANGELES, CA 90067-3086




                                                                                  By:               /s/ Arjun P. Rao
                                     13                                                              Arjun P. Rao
                                     14                                                 Attorneys for Defendant
                                                                                          JPMORGAN CHASE BANK, N.A.
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                                          LA 52217108
                                     Case 3:19-cv-00453-WQH-KSC Document 1 Filed 03/07/19 PageID.5 Page 5 of 5



                                      1                              CERTIFICATE OF SERVICE
                                      2           I hereby certify that on March 7, 2019 a copy of the foregoing NOTICE OF
                                      3   REMOVAL OF DEFENDANT JPMORGAN CHASE BANK, N.A. was filed
                                      4   electronically and served by mail on anyone unable to accept electronic filing.
                                      5   Notice of this filing will be sent by e-mail to all parties by operation of the court’s
                                      6   electronic filing system or by mail to anyone unable to accept electronic filing as
                                      7   indicated on the Notice of Electronic Filing. Parties may access this filing through
                                      8   the court’s EM/ECF System.
                                      9
                                     10                                                          /s/ Arjun P. Rao
                                                                                                   Arjun P. Rao
                                     11
2029 CENTURY PARK EAST, 18TH FLOOR
  STROOCK & STROOCK & LAVAN LLP




                                     12
      LOS ANGELES, CA 90067-3086




                                     13
                                          Via U.S. Mail
                                     14   Thomas Foley
                                          555 Saturn Blvd., Ste. B-1021
                                     15   San Diego, CA 92154
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                                          In Pro Per
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                                                                                                             CERTIFICATE OF SERVICE
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